                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                               DOCKET NO. 3:15-cr-213-MOC

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
                v.                               )
                                                 )         ORDER OF FORFEITURE
BARRY HARMELIN,                                  )
                                                 )
Defendant.                                       )
                                                 )

       THIS MATTER is before the Court on the Government’s oral Motion for Money Judgment

and the Court’s oral pronouncements on forfeiture at sentencing of this matter. A sentencing

hearing was held on May 22, 2017.

       The Bill of Indictment in this case charged Defendant with, among other violations,

conspiracy to commit mail and wire fraud, mail fraud, and money laundering conspiracy. The

Indictment also provided notice that property was subject to forfeiture pursuant to 18 U.S.C. § 982

and 28 U.S.C. § 2461(c), and specifically contained a Grand Jury finding that there was probable

cause that a forfeiture money judgment of at least $10,000,000, representative of the proceeds of

the offenses, was subject to forfeiture.

       Defendant pled guilty via Plea Agreement to fraud conspiracy in violation of Count One,

mail fraud in violation of Count Two, and money laundering conspiracy in violation of Count

Seventeen. The Plea Agreement contained consent to forfeiture. Further, the sentencing record in

this case reflects the large financial impact of the case on victims and the proceeds reaped by the

conspirators.

                                            ORDER

       IT IS, THEREFORE, ORDERED that, for purposes of Fed. R. Crim. P. 32.2, and 18




   Case 3:15-cr-00213-MOC-SCR              Document 100       Filed 06/02/17      Page 1 of 2
U.S.C. § 982 and 28 U.S.C. § 2461(c), and based on the Indictment and Grand Jury finding of

probable cause, plea of guilt, and record, the Government has established the amount of the money

judgment and this Order shall constitute a money judgment for the following property:

       A forfeiture money judgment in the amount of $10,000,000, such amount constituting
       the proceeds of the offenses to which Defendant has pled guilty.




                                   Signed: June 2, 2017




   Case 3:15-cr-00213-MOC-SCR             Document 100       Filed 06/02/17     Page 2 of 2
